Case 21-50907-FJS   Doc   Filed 06/07/24 Entered 06/07/24 13:12:56   Desc Main
                          Document      Page 1 of 6
Case 21-50907-FJS   Doc   Filed 06/07/24 Entered 06/07/24 13:12:56   Desc Main
                          Document      Page 2 of 6
Case 21-50907-FJS   Doc   Filed 06/07/24 Entered 06/07/24 13:12:56   Desc Main
                          Document      Page 3 of 6


                             June 7, 2024




                                       Emily Cheng
Case 21-50907-FJS   Doc   Filed 06/07/24 Entered 06/07/24 13:12:56   Desc Main
                          Document      Page 4 of 6
Case 21-50907-FJS   Doc   Filed 06/07/24 Entered 06/07/24 13:12:56   Desc Main
                          Document      Page 5 of 6
Case 21-50907-FJS   Doc   Filed 06/07/24 Entered 06/07/24 13:12:56   Desc Main
                          Document      Page 6 of 6
